Case 1:16-cv-OO731-YK Document 1 Filed 05/02/16 Page 1 of 3

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

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w 3. STATEMENT OF CLAIM: (Sta/te below the facts of your case lf you have paper
exhibits that give further information of your case, attach them to this completed form. Use as

 

 

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